           Case 2:08-cr-00190-GEB Document 29 Filed 08/25/08 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     JAIME VAN TONGEREN
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,    )
                                  )      Cr.S. 08-190-GEB
10                  Plaintiff,    )
                                  )      STIPULATION AND ORDER
11             v.                 )
                                  )
12   JAIME VAN TONGEREN, et al., )       DATE: October 10, 2008
                                  )      TIME: 9:00 a.m.
13                  Defendant.    )      JUDGE: Hon. Garland E. Burrell
                                  )
14   ____________________________ )
15
16        It is hereby stipulated and agreed to between the United States of
17   America through MARY L. GRAD, Assistant U.S. Attorney, and defendant,
18   JAIME VAN TONGEREN, by and though his counsel, DENNIS S. WAKS,
19   Supervising Assistant Federal Defender, TONY HAMMETT by and through his
20   counsel, MARK J. REICHEL and MARGARITO ALBERTE by and through his
21   counsel, MICHAEL L. CHASTAINE, that the status conference set for
22   Friday, August 22, 2008 be continued to Friday, October 10, 2008 at
23   9:00 a.m.    This continuance is being requested because defense counsel
24   needs additional time to prepare, to review discovery, and to interview
25   witnesses.   Counsel has received 140 pages of discovery and needs
26   additional time to review and discuss them with our clients.
27        Speedy trial time is to be excluded from the date of this order
28   through the date of the status conference set for October 10, 2008,
              Case 2:08-cr-00190-GEB Document 29 Filed 08/25/08 Page 2 of 3


 1   pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv) [reasonable time to
 2   prepare] (Local Code T4).
 3                                       Respectfully submitted,
                                         DANIEL J. BRODERICK
 4                                       Federal Defender
 5   DATED: August 18, 2008              /S/ Dennis S. Waks
 6                                       DENNIS S. WAKS
                                         Supervising Assistant Federal Defender
 7                                       Attorney for Defendant
                                         JAMIE VAN TONGEREN
 8
 9
                                         /s/ Dennis S. Waks for
10   DATED: August 18, 2008
                                         MARK J. REICHEL
11                                       Attorney for TONY HAMMETT
12
                                         /s/ Dennis S. Waks for
13   DATED: August 18, 2008
                                         MICHAEL J. CHASTAINE
14                                       Attorney for MARGARITO ALBERTE
15
                                         McGREGOR W. SCOTT
16                                       United States Attorney
17
     DATED: August 18, 2008              /s/ Dennis S. Waks for
18
                                         MARY L. GRAD
19                                       Assistant U.S. Attorney
20
                                          O R D E R
21
22                IT IS SO ORDERED.
23   Dated:    August 22, 2008
24
25                                       GARLAND E. BURRELL, JR.
26                                       United States District Judge

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